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                                            Exhibit A

                                                                          Attorneys      Simon’s
                                                             Simon’s        Fees          Total
                                            Tenant            Cure                        Cure
  Property Name      Landlord Entity        DBA              Amount                      Amount
                     The Domain Mall        iPic
  The Domain II      II, LLC                Theaters      $34,278.89      $2,500.00    $36,778.89


*Current cure amounts may be subject to modification for any additional billings as stated in the
Lease, including but not limited to charges accrued, but not yet billed, for common area
maintenance, real estate taxes, utilities, overage rent or percent rent.
